                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00003-1
                                               )   JUDGE SHARP
XAVIER FARMER                                  )
                                               )

                                          ORDER


       Due to calendar conflict, the sentencing hearing scheduled for August 9, 2013, at 10:30

a.m. is hereby rescheduled for 2:30 p.m. the same day.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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